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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                    (Alexandria Division)


JUSTIN FESSLER,

                      Plaintiff,
                                                 Civ. No.


                                                 JURY TRIAL DEMANDED
INTERNATIONAL BUSINESS
MACHINES CORPORATION,

                      Defendant.



                                        COMPLAINT


       Plaintiff Justin Fessler, complaining of the acts of Defendant International Business

Machines Corporation("IBM"), alleges and states the following:

                                           PARTIES


          1.   Mr. Fessler is a citizen of Arlington, Virginia domiciled in Arlington County.

       2.      IBM was incorporated, and is existing, under the laws of the State of New York.

IBM's principal place of business is in the State of New York.
                                .niRISDICTION AND VENUE


          3.   Subject matter jurisdiction over this matter is conferred upon and vested in this
Court under 28 U.S.C. § 1332.

       4.      This Court has personal jurisdiction over IBM.

          5.   Venue is proper in this Court.

       6.      This action has been brought within all applicable statute of limitations and/or

repose.
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                                FACTUAL ALLEGATIONS

       7.     Mr. Fessler is a seasoned software sales representative that has worked at IBM

since 2008.

       8.     Mr. Fessler joined IBM on or about October 6, 2008 as an inside sales software

seller. Starting in 2009, Mr. Fessler became an inside sales information management specialist

for the United States Federal Government.

       9.     During his tenure with IBM, Mr. Fessler was very successful and highly respected

in his position, and received positive ratings in every performance review. Mr. Fessler received

awards for the 100% quota club several years, and received IBM Blue Point awards for

exemplary performance. Mr. Fessler has also participated in other IBM growth and thought

leadership programs such as Anne Altman’s Millennial Council and the Harvard Business

School Review, and has been sponsored by many Federal Government programs to speak with,

and for them, on topics such as Artificial Intelligence, Information Governance, and Machine

Learning.

               IBM Promised Mr. Fessler His Commissions Were Uncapped.

       10.    Mr. Fessler’s compensation as an IBM sales representative consisted of a base

salary paired with uncapped commissions. Mr. Fessler received commissions of 5% of his sales

through 2016. In 2017, Mr. Fessler’s commissions consisted of a tiered, uncapped commission

based on net new revenue as well as deployment.

       11.    Mr. Fessler’s commission plan for the first half of 2016 ran from January 1, 2016

through June 30, 2016. Upon information and belief, IBM offered the written (electronic)

commission plan to Mr. Fessler (“the Incentive Plan Letter” or “IPL”) several weeks into 2016.




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       12.    Around the time that Mr. Fessler accepted the IPL, IBM presented to him and

similar salespeople a PowerPoint presentation describing the terms of the commission plan being

offered to them. Upon information and belief, IBM presented the PowerPoint to Mr. Fessler both

before and after the IPL was presented to him. The PowerPoint was also available for Mr.

Fessler, and other salespeople, to download during the entirety of the sales period (January-June

of 2016) and afterwards.

       13.    IBM made a substantially similar version of this PowerPoint available to Mr.

Fessler each year for the purpose of explaining the important terms of his compensation.

       14.    The PowerPoint was titled “Our Purpose, Values & Practices” relating to “Your

2016 Incentive Plan,” and it stated that the goal of the incentive plan is “to design and deliver

sales incentives that motivate your performance and are strategically aligned with IBM’s strategy

and transformation.” Page 13 specifically stated that “[e]arnings opportunity remains uncapped.”

In fact, the presentation mentions no less than six times in its 18 pages that “payments” and/or

“earnings opportunit[ies]” are “uncapped.”

       15.    These representations were repeated in sales meetings and by IBM managers.

       16.    These representations are also in line with IBM’s written guidance to its

managers, which provides:

       Conditions that may lead to an adjustment include the need to correct errors or the need
       to balance with employee’s contribution to the success of a large sales transaction (which
       criteria must be clearly provided to Commissions team).

       Adjustments must not be done only as a ceiling or cap on the total earnings
       allowable to employees.

       17.    In other words, IBM’s official policies provide that sales representatives

commissions may be adjusted to correct errors, but their commissions may not be arbitrarily

capped for the purpose of limiting the employee’s earnings.

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       18.     Here, Mr. Fessler’s commissions were not adjusted as a result of any errors and

no need to balance his contribution to the success of the deals were ever articulated. Rather, Mr.

Fessler’s commissions were arbitrarily capped for the sole purpose of limiting his earnings.

                 Mr. Fessler’s Commission Payments Were Capped in 2016.

       19.     In 2016, Mr. Fessler worked on behalf of IBM to close a large deal of IBM

Watson Division products and services with the United States Census Bureau (“Census Bureau

Deal”). Indeed, since May of 2015, until September 2016, Mr. Fessler was the sole sales

representative responsible for this account and worked diligently to close a deal for the IBM

Watson Division products and services.

       20.     Mr. Fessler’s effort in closing the Census Bureau Deal resulted in a total sale of

approximately $8,900,000 of Watson Division products and services. However, IBM arbitrarily

only credited Mr. Fessler with $5,164,000 worth of sales. His quota at the time was $3,500,000.

       21.     On the recognized amount of $5,164,000, Mr. Fessler earned a commission of

$258,200 which should have been paid to him in July 2016 after the deal was closed at the end of

June 2016. He was not paid any of this commission in July.

       22.     After approaching his manager regarding this, his manager, Kimberly Kilty

informed him that because the deal was over $5,000,000, it went through an internal review

process.

       23.     Following this supposed “internal review,” Mr. Fessler was informed that IBM

would only be crediting $1,000,000 worth of revenue to Mr. Fessler from the deal resulting in

only $50,000 of commissions.

       24.     Neither his first line manager, Kimberly Kilty, or his second line manager, Amish

Patel, were consulted as part of this internal review process.



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       25.     Mr. Fessler, along with these two managers were informed by the individuals who

conducted the internal review that Mr. Fessler was credited with only a fraction of the revenue

due to his contribution to the deal. No further explanation as to what was meant by “his

contribution to the deal.”

       26.     Mr. Fessler was the only sales representative responsible for the Watson Division

portion of the deal, which IBM recognized was $5,164,000.

       27.     Upon information and belief, IBM did not credit any other sales representatives

with the remaining $4,164,000 worth of revenue that it arbitrarily decided not to credit to Mr.

Fessler.

       28.     Both of his managers believed that his contribution was significant and further

validated that with a majority of the contributing technical team for the deal. They did not

understand why his commission was arbitrarily capped by IBM.

       29.     As a result of IBM’s reduction of his revenue credit to $1,000,000, he was only

paid $50,000, over $200,000 less than he had earned.

                 Mr. Fessler’s Commissions Payments Were Capped in 2017.

       30.     In January 2017 Mr. Fessler was moved to the analytics division from the Watson

division.

       31.     After this reorganization, he was not assigned a manager or presented an IPL until

sometime in February 2017. Upon information and belief, his compensation structure still

consisted of a base salary paired with uncapped commissions equaling 5% of the total revenue.

The terms of the IPL were not explained to Mr. Fessler and as he was not alerted to any changes

he assumed it was the same as the previous IPLs he had accepted.

       32.     In May 2017, Mr. Fessler’s commissions were again capped by IBM.



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       33.    After accepting his IPL for the first half of 2017, he was informed that one of his

accounts, the Department of Defense Special Operations Command, was being targeted under a

special new program IBM instituted called a TAAP Plan (“Target Account Absolute Plan”).

       34.    Under this plan, IBM elected to pay sales commissions differently than what Mr.

Fessler’s IPL provided and differently than the numerous representations IBM made that sales

commissions were “uncapped.”

       35.    Under the TAAP Plan, IBM apparently allocated approximately 3.5% of sales

revenue to commissions for all sales representatives involved in a sale of IBM products and

services to the Department of Defense Special Operations Command.

       36.    Mr. Fessler was not aware of this 3.5% “bucket” of commissions until after he

assisted in closing a deal with the Department of Defense for $3,500,000 of IBM products and

services.

       37.    Of this $3,500,000, the products and services Mr. Fessler was responsible for

accounted for $2,000,000.

       38.    Mr. Fessler is not aware what commissions other sales representatives were due,

so 3.5% of sales commissions to all sales representatives may have been sufficient to pay all

sales representatives the commissions they were due.

       39.    However, Mr. Fessler was not paid the 5% commission he was due. Rather, IBM

paid him about $30,000, far less than the $100,000 he was due on a sale of $2,000,000.

       40.    In mid-late July 2017, Mr. Fessler was provided a new IPL for the second half of

2017. This IPL again stated he was responsible for all federal accounts and was not explained to

him as he was in the midst of getting new managers again. However, his commission structure

changed from a flat 5% of revenue to a tiered commission structure that remained uncapped.



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       41.     At the end of 2017, Mr. Fessler was again capped by IBM, who this time refused

to pay him any commissions on a deal he was responsible for.

       42.     In the second half of 2017, he was working on a deal for the sale of IBM products

and services that he was responsible for with the United States Customs and Border Protection

agency.

       43.     IBM moved this account into what is internally called a “deployment account.”

This essentially means an account that currently holds a software contract with IBM, and IBM

assigns a representative to the account to help them deploy it and make it used by the client

programs.

       44.     Mr. Fessler’s deployment quota for the second half of 2017 was $4,300,000.

       45.     In late December, Mr. Fessler closed a deal with the US Customs and Border

Protection agency for $5,200,000. He expected his commissions on this to be paid at the end of

February 2018, which he ultimately did not receive.

       46.     When he inquired as to the status of this payment, IBM told him they were not

going to pay him on this account because they had removed it from his responsibility. This was

the first time he had been told that, as in the past he was always responsible for all federal

government accounts, including the US Customs and Border Protection agency.

       47.     Indeed, his IPL for the second half of 2017 identified that he was still responsible

for all federal contracts, however, after querying his management, the incentives team informed

him that this account had been removed from his responsible accounts. This had never been

explained to Mr. Fessler before this time.

       48.     Mr. Fessler would not have worked on this account or closed this $5,200,000 deal

had he known IBM was not going to pay him for his efforts.



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                   Since Leaving IBM, Mr. Fessler Has Learned That IBM
                    Routinely Breaks its Promise Not to Cap Commissions

       49.     Recently, Mr. Fessler has learned that IBM has a history of capping the

commissions on large sales.

       50.     The sales field in which Mr. Fessler worked for IBM is highly competitive, and

most employers do not cap commissions. Were IBM to actually tell its salespeople that

commissions could be capped, it would be severely hampered in its efforts to recruit good

salespeople. As a result, IBM engages in a practice whereby it tells its salespeople that their

commissions will not be capped, both verbally and in written documents like the PowerPoint

presentation, and then it caps certain high-achievers after the fact.

       51.     There is another case pending in the Middle District of North Carolina that is very

similar to this one, Bobby Choplin v. International Business Machines Corporation, No. 16-cv-

1412-TDS-JEP (“the Choplin Action”). Upon information and belief, the plaintiff in the Choplin

Action had an IPL that was in relevant part identical or substantially similar to Mr. Fessler’s IPL,

and the plaintiff was shown a PowerPoint presentation that was in relevant part identical or

substantially similar to the PowerPoint presentation shown to Mr. Fessler. Furthermore, upon

information and belief, many of the other facts and circumstances surrounding the commissions

due to Mr. Choplin, and what IBM actually paid him and why, are similar to the facts and

circumstances surrounding the commissions due to Mr. Fessler, and what IBM actually paid him

and why.

       52.     In the Choplin Action, the plaintiff took four depositions: (1) a Rule 30(b)(6)

deposition of IBM, through corporate designee Richard Martinotti (Exhibit A); (2) a deposition

of Mr. Choplin’s first-line (i.e., immediate) manager, Thomas Batthany (Exhibit B); (3) a

deposition of Mr. Choplin’s second-line (i.e., two levels up) manager, Haleh Maleki (Exhibit C);

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and (4) a deposition of Mark Dorsey, a former IBM Vice President of Software Sales (i.e., one of

the highest-level sales managers in the corporation) (Exhibit D). Together, Exhibits A, B, C,

and D are referred to as the “Choplin Depositions.”

       53.      The testimony in the Choplin Depositions make clear the following, among other

things: (1) because of the statements in the PowerPoints, and in light of the IPLs, IBM had an

“obligation” not to “cap” the commission for salespeople like Mr. Choplin and Mr. Fessler; (2)

salespeople like Mr. Fessler were entitled to rely on the statements in the PowerPoints that their

commissions would be not be “capped,” and that reliance was understood by IBM and was

reasonable; and (3) what IBM in fact did, when it reduced the commissions in the way that it did

for Mr. Choplin and Mr. Fessler, was “capping.” For example:

             a. IBM testified as follows:

                    Q. The fourth bullet point, you could read that, please.

                    A. “Earnings opportunity remains uncapped.”

                    Q. Okay. So you would agree that IBM when explaining his compensation
                       plan for the first half of 2015 represented to Bobby Choplin that his
                       earnings opportunity remains uncapped, wouldn’t you?

                    A. Correct.

                    Q. Would you also agree that IBM represented to Bobby Choplin regarding
                       his first half of 2015 compensation plan that payments were uncapped?

                    A. Correct.

                    Q. So would you agree that IBM had an obligation not to cap Bobby
                       Choplin’s earnings opportunity?

                    A. Yes.

                    Q. Would you agree that IBM had an obligation not to cap Bobby Choplin’s
                       payments?

                    A. Correct.

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(Exhibit A, pp. 18-19.) When asked specifically about whether a salesperson could reasonably

rely on the statements in the PowerPoints, IBM testified:

                      Q. And it would be reasonable for a salesperson like Bobby Choplin to rely
                         on the information in Exhibit 65, 66 and 67 [PowerPoints] regarding their
                         compensation plan?

                      A. Yes.

(Exhibit A, pp. 67-68.)

           b. Mr. Batthany testified as follows about the statements in the PowerPoint that

               commission would be not be capped:

                      Q. Okay. It would be reasonable for someone to understand that their
                         commission payments were uncapped in the first half of 2015, wouldn’t
                         it?

                         A. Yes.

(Exhibit B, p. 79.) Mr. Dorsey similarly testified that, if he were a salesperson and read the

statements in the PowerPoint, he would think that his earnings were uncapped. (Exhibit D, p.

48.)

           c. Ms. Maleki testified as follows about what exactly constitutes capping:

                      Q. What does that mean to you?

                      A. Capped?

                      Q. Right.

                      A. Is when your commissions get reviewed, and you know, you’re supposed
                          to get paid X amount, but you get paid Y.

                      Q. Something different than what your commission formula would produce?

                      A. Correct.

(Exhibit D, p. 25.)



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             d. Mr. Dorsey straight-up testified that IBM’s statements in the PowerPoints that it

                did not cap were not true, and that IBM often capped:

                    Q. Okay. Would you agree that under the commissions programs at IBM
                       while you were there from the 2013 to 2015, that a software salesperson's
                       earnings opportunity was uncapped?

                    A. No. I don't think any -- I don't think since I was there that their earnings
                       were ever uncapped.
                    …

                    Q. And you see that each of these under the earnings opportunity block on the
                       left side of the page, the third bullet point says, "Earnings opportunity
                       remains uncapped"?

                    A. I do see that.

                    Q. And that's each of these four, on page 83, page 84, page 85, page 86, every
                       single one of these says, "Earnings opportunity remains uncapped"; is that
                       correct?

                    A. That's what I'm seeing, yeah.

                    Q. But that's not true from what you remember at IBM?

                    A. That’s correct. I don't believe that’s true.

(Exhibit D, pp. 43, 46-47.)

       54.      The Choplin Depositions also make clear that, despite IBM’s claim that it did not

“cap” Mr. Choplin’s commission when it reduced his commission payments, IBM employees

used that exact term several times in emails when discussing the reduction in Mr. Choplin’s

commission payments. Upon information and belief, IBM, when referring to its reduction of Mr.

Fessler’s commission payments, also referred to what it was doing as “capping,” “capped,”

“cap,” or the like, including in emails sent during the period when IBM reduced Mr. Fessler’s

commission.




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        55.     Indeed, an email was produced in the Choplin case where Randolph Moorer

specifically “recommend[ed] capping” the commissions of another sales representative, Mr.

Stephenson, commissions on both the LabCorp and BB&T Deals by approximately $600,000.

(Exhibit E). Upon information and belief, there are other such emails where IBM discussed how

it was “capping” Mr. Fessler’s commissions.

        56.     Mr. Fessler has met all conditions precedent to the bringing of this action.

                                  FIRST CLAIM FOR RELIEF
                             (Breach of Oral and/or Implied Contract)

        57.     Mr. Fessler re-alleges and incorporates the prior paragraphs of this Complaint as

if fully set forth herein.

        58.      By the words and actions of IBM and its agents both before and after he accepted

his 2016 IPL, IBM and Mr. Fessler entered into an express oral contract, and/or an implied

contract, that IBM would pay Mr. Fessler the full amount of his commission without capping the

amount of commissionable sales. These words and actions included: (1) the sending of the

PowerPoint, which, upon information and belief, was sent to Mr. Fessler both before and after he

accepted his IPL, and was always available via the intranet; (2) the statements of IBM executives

at sales meetings that commissions would not be capped; and (3) the fact that IBM had never

before capped a commission to Mr. Fessler’s knowledge.

        59.     IBM breached the oral contract, and/or the implied contract, by capping Mr.

Fessler’s commission.

        60.     As a direct and proximate result of the breach by IBM, Mr. Fessler was harmed in

an amount exceeding $75,000.00.




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                                SECOND CLAIM FOR RELIEF
                             (Alternative Claim – Quantum Meruit)

        61.     Mr. Fessler re-alleges and incorporates the prior paragraphs of this Complaint as

if fully set forth herein.

        62.     Mr. Fessler alleges this claim in the alternative to his first claim.

        63.     To the extent that there was no written contract and to the extent that there was no

oral or implied contract, then Mr. Fessler alleges a claim for quantum meruit.

        64.     Mr. Fessler rendered valuable consideration to IBM, in the form of work

performed to close all of the deals, for which he has not been paid. The consideration has a

reasonable value of at least $350,000, although the exact amount is for the jury.

        65.     At the time that Mr. Fessler performed the work, he reasonably expected to be

paid by IBM. IBM received and benefited from the work with knowledge or reason to know that

Mr. Fessler expected to be paid. IBM voluntarily accepted the benefit of the work and kept the

benefits therefrom without waiving, refusing, or returning the benefit.

        66.      In the alternative to the claim for breach of contract, Mr. Fessler is entitled under

the doctrine of quantum meruit to recover damages from IBM in the amount of at least $75,000.

                                  THIRD CLAIM FOR RELIEF
                             (Alternative Claim – Unjust Enrichment)

        67.     Mr. Fessler re-alleges and incorporates the prior paragraphs of this Complaint as

if fully set forth herein.

        68.     Mr. Fessler alleges this claim in the alternative to his first claim.

        69.     To the extent that there was no written contract and to the extent that there was no

oral or implied contract, then Mr. Fessler alleges a claim for unjust enrichment.




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        70.     At the specific request of IBM and for its use and benefit, Mr. Fessler has

performed work for IBM in the form of making sales of its software and services.

        71.     The value of the work performed for IBM by Mr. Fessler for which Mr. Fessler

has not been paid is at least $350,000, although the exact amount is for the jury.

        72.     During and since the performance of the work by Mr. Fessler, IBM has failed to

pay Mr. Fessler and there is due and owing to Mr. Fessler from IBM, a principal sum amount of

at least $350,000.

        73.     Despite Mr. Fessler being owed in excess of another $350,000, IBM has failed

and refused to pay the same or any part of it.

        74.     In the alternative to the claim for breach of contract, and as a result of IBM’s

refusal to pay Mr. Fessler the above-stated sum due and owing to Mr. Fessler, IBM has become

unjustly enriched in the amount of at least $75,000.

                               FOURTH CLAIM FOR RELIEF
                                (Fraudulent Misrepresentation)

        75.     Mr. Fessler re-alleges and incorporates the prior paragraphs of this Complaint as

if fully set forth herein.

        76.     IBM, through its agents, represented to Mr. Fessler that Mr. Fessler’s commission

would not be capped, in at least the following instances: (1) the PowerPoint, which, upon

information and belief, was sent to Mr. Fessler both before and after he accepted his 2016 and

2017 IPLs, and was always available via the intranet; and (2) the statements of IBM executives

at sales meetings that commissions would not be capped.

        77.     Those representations were false.

        78.     Upon information and belief, those representations were false when made and

IBM, through its agents, knew that they were false when made. IBM intended to deceive Mr.

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Fessler in making those misrepresentations. Simply put, IBM knew that Mr. Fessler’s

commissions might be and would be capped, even though it told him in all of these instances that

they would not be capped.

        79.     Mr. Fessler reasonably and justifiably relied on the representations of IBM.

Notably, some or all of the representations were made after Mr. Fessler signed the IPL, including

those in the PowerPoint, and those by IBM executives in sales meetings. Mr. Fessler reasonably

and justifiably relied on the representations by, among other things, continuing to work hard and

sell as much software and services as possible for the benefit of IBM. Had Mr. Fessler known

that he would not be paid what he was promised and what he expected, he would have worked

differently at IBM, in commensuration with his actual compensation, and/or he would have

sought another job that paid him what his efforts were worth and/or did not cap commissions.

Had Mr. Fessler known that he would be capped as he was, he would have worked his deals

differently at IBM so as to maximize his compensation.

        80.     Mr. Fessler was damaged by IBM’s fraudulent statements in an amount exceeding

$75,000.

                                  FIFTH CLAIM FOR RELIEF
                        (Alternative Claim - Negligent Misrepresentation)

        81.     Mr. Fessler re-alleges and incorporates the prior paragraphs of this Complaint as

if fully set forth herein.

        82.     Mr. Fessler alleges this claim in the alternative to the claim for fraudulent

misrepresentation.

        83.     IBM, through its agents, represented to Mr. Fessler that Mr. Fessler’s commission

would not be capped, in at least the following instances: (1) the PowerPoint, which, upon

information and belief, was sent to Mr. Fessler both before and after he accepted his 2016 and

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2017 IPLs, and was always available via the intranet; and (2) the statements of IBM executives

at sales meetings that commissions would not be capped.

       84.     IBM’s agents made the representation negligently, without exercising the care

that a reasonable person would exercise in the circumstances. IBM made the representations

with the knowledge and intention that Mr. Fessler rely on the statements, and Mr. Fessler

reasonably and justifiably relied on the representations of IBM.

       85.     Notably, some or all of the representations were made after Mr. Fessler signed the

IPL, including those in the PowerPoint, and those by IBM executives in sales meetings. Mr.

Fessler reasonably and justifiably relied on the representations by, among other things,

continuing to work hard and sell as much software and services as possible for the benefit of

IBM.

       86.     Had Mr. Fessler known that he would not be paid what he was promised and what

he expected, he would have worked differently at IBM, in commensuration with his actual

compensation, and/or he would have sought another job that paid him what his efforts were

worth and/or did not cap commissions. Had Mr. Fessler known that he would be capped as he

was, he would have worked his deals differently at IBM so as to maximize his compensation.

       87.     IBM owed Mr. Fessler a duty of care in making the representations.

       88.     Mr. Fessler reasonably and justifiably relied on the representations of IBM.

       89.     Mr. Fessler was damaged by IBM’s negligent misrepresentations.

       90.     Mr. Fessler has been damaged by IBM’s negligence in an amount exceeding

$75,000.00.




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                                  SIXTH CLAIM FOR RELIEF
                                      (Punitive Damages)

        91.     Mr. Fessler re-alleges and incorporates the prior paragraphs of this Complaint as

if fully set forth herein.

        92.     The actions and conduct of IBM, as set forth herein, entitle Mr. Fessler to

compensatory damages, and are accompanied by aggravating factors which caused and relate to

Mr. Fessler’s injuries which give rise to his claim for compensatory damages.

        93.     This conduct, as set forth herein, includes, among other things, fraud.

        94.     IBM facilitated the conduct constituting fraud and the willful, wanton, and

outrageous conduct giving rise to punitive damages, as set forth herein and otherwise.

                                      PRAYER FOR RELIEF

        WHEREFORE, Mr. Fessler prays the Court for the following relief:

        1.      Mr. Fessler have and recover from IBM for breach of the oral or implied contract

compensatory damages of approximately $400,000, plus interest from the date of breach, plus

interest on the judgment until paid in full at the legal rate as allowed by law;

        2.      In the alternative, that Mr. Fessler have and recover from IBM for quantum

meruit or unjust enrichment in an amount to be determined at trial, plus interest on the judgment

until paid in full at the legal rate as allowed by law;

        3.      Mr. Fessler have and recover from IBM for fraudulent misrepresentation in the

amount of approximately $400,000;

        4.      Mr. Fessler have and recover from IBM for negligent misrepresentation in the

amount of approximately $400,000;

        5.      That Mr. Fessler be awarded punitive damages;

        6.      That all costs of this action be taxed against IBM; and

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       7.       That the Court award Mr. Fessler such other and further relief as this Court may

deem just and proper.

                                       JURY DEMAND

       PLAINTIFF DEMANDS A TRIAL BY JURY.

June 27, 2018                                       Respectfully submitted,



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